Case 1:20-cv-01141-JTN-RSK ECF No. 34, PagelD.228 Filed 09/14/21 Page1of1

 

 

 

 

 

 

 

 

REPORT FOLLOWING
VOLUNTARY FACILITATIVE MEDIATION SESSION
Case Number Case Caption Date of Session
1:20-cv-1141 Enbridge Energy vs Gretchen Whitmer et al | 09/09/2021
PARTIES Attendees
Name On Behalf Of
Al Monaco, CEO Enbridge Energy
Vern Yu, V.P. Enbridge Energy

 

others, including Senior General Counsel | Enbridge Energy

 

 

Governor Gretchen Whitmer Governor, State of Michigan

 

 

 

COUNSEL

 

Name On Behalf Of

 

Mark Totten, Governor's Legal Counsel State of Michigan and Governor

 

Philip Mariani, Governor's Deputy State of Michigan and Governor

 

Legal Counsel

 

Robert Reichel, Attorney General's Office | State of Michigan and Governor

 

 

 

 

 

 

 

 

Dan Bock, Attorney General's Office State of Michigan and Governor
David Coburn Enbridge Energy
William Hassler Enbridge Energy

Result: [| Case settled in full - Final paperwork will be filed by: Mediation

continuing - Status of mediation and date to be determined
[_] Not settled - Mediation Completed

Dated: [ Se oft 3 [ /s/ bere
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